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Western District of Tennessee mg
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VS. Case Number 2:94CR20040-01

GREGORY DEWAYNE SHARP
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE vIOLATION
(For Offenses Committed On or After November 1, 1987)

The defendant, Gregory Dewayne Sharp, Was represented by Doris Randle-Holt, Esq.

It appearing that the defendant, who was convicted on February lO, 1995 in the above
styled cause and was placed on Supervised Release for a period of three (3) years and has
violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of six (6) months with execution of sentence to
be deferred until after September 15, 2005.

FURTHERMORE, the Court imposes a term of Supervised Release of 2 years, and re~
imposes all of the previous conditions of Supervised Release.

The defendant is allowed to remain released on present bond.

Signed this times?:;?" day of April, 2005.

 

ITED STATES DISTRICT JUDGE

Defendant‘s SS No.: XXX-XX-XXXX

Defendant's Date of Birth: 07~18~1966

U.S. Marshal No.: 14777-076

Defendant's Mailinq Address: 4536 Paula Drive, Memphis, TN 38116

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This notice confirms a copy of the document docketed as number 235 in
case 2:94-CR-20040 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

